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         Prejean v. O’Brien’s Response Management, Inc., 2:12-cv-01045-CJB-JCW
        UNITED STATES DISTRICT COURT EASTERN DISTRICT OF LOUISIANA
                                   New Orleans Division


      NOTICE OF LAWSUIT FOR UNPAID
            OVERTIME WAGES
   If you worked for O’Brien’s Response Management, Inc. on the
            Gulf Coast oil spill response, please read this
            Court-authorized notice of pending litigation.
Dennis Prejean is a Plaintiff in a lawsuit on behalf of himself and others similarly situated, who
like him, was hired by O’Brien’s Response Management, Inc. ("O’Brien’s") to work on the Gulf
Coast oil spill response cleanup efforts. These "Oil Spill Workers" claim that O’Brien’s
("Defendant") unlawfully denied them overtime wages as a result of misclassifying them as
independent contractors.

The Court has authorized Plaintiff to send other Oil Spill Workers who worked for the Defendant
at any time since [date three years prior to date of notice] notice of their opportunity to join this
pending lawsuit.

     YOUR LEGAL RIGHTS AND OPTIONS IN THIS LAWSUIT
                 If you choose to join this lawsuit, you may be entitled to participate in
    YOU MAY      any award or benefit that may come from trial or a settlement and may
     CHOOSE      be bound by any ruling, judgment or settlement, whether favorable or
  WHETHER OR     unfavorable. If you choose not to join, you are free to do nothing or to
 NOT TO JOIN THE file your own lawsuit.
    LAWSUIT
                 If you do not join this lawsuit, you will not have the right to any benefit
                 or award that may come from a trial or settlement in this lawsuit if
                 those bringing the lawsuit are successful. If you do not join this
                 lawsuit (or file your own lawsuit), the limitations period on any claim
                 you may have will continue to run so that some or all of your potential
                 claims may later be barred by applicable statute of limitations.


To join the lawsuit, you must send Plaintiff's Counsel your Notice of Consent form by [insert
date 60 days from the date notice is sent out].

   1. Why did I get this Notice?

You received this notice because O’Brien’s hired you as an independent contractor to work as an
Oil Spill Worker during the relevant time period, you were paid a day-rate and you worked more
than forty hours per week. The Honorable Carl Barbier, United States District Judge in the
Eastern District of Louisiana, is overseeing this case. The lawsuit is known as Prejean v.

                                          Questions
                        Contact Bruckner Burch PLLC at (800) 443-2441
                                                                                              Ex. 3
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O’Brien’s Response Management, Inc., 2:12-cv-01045-CJB-JCW. Through this Notice, the
Court is attempting to notify all Oil Spill Workers who may be entitled to relief in this case of
their right to participate in this lawsuit, and to determine which workers want to join. A trial
may be necessary to decide whether the claims being made against the Defendant are correct.

   2. What is this lawsuit about?

This lawsuit is about whether the Oil Spill Workers were employees, rather than independent
contractors, to whom Defendant should have paid overtime wages at one and one-half times their
regular rate for hours worked over forty per week as required by the Fair Labor Standards Act
("FLSA").

The Defendant has denied any wrongdoing or liability for damages, and contests all claims
asserted by the Plaintiff.

Please disregard any previous communications you may have received from O’Brien’s
describing this lawsuit or your rights with respect to it. You are not required to discuss this
lawsuit, or the facts and circumstances surrounding it, with the Defendant or their
representatives. The Court has determined that this Notice provides an accurate and fair
description of the lawsuit and your rights.

   3. What is a collective action and who is involved?

The Court has conditionally authorized this case to proceed as a collective action under Section
216(b) of the FLSA, 29 U.S.C. § 216(b). In a collective action lawsuit, one or more plaintiffs
can bring a lawsuit on behalf of themselves and others who are determined to have similar
claims.

The named plaintiff and all Oil Spill Workers similarly situated to him who decide to join the
case will be part of this "Collective Action" and will be "Collective Action Members.” In a
collective action, one Court resolves the claims for everyone who decides to join the case.
However, since the case is only conditionally certified, the case may be decertified by the Court
at a later stage.

   4. Has the Court decided who is right?

The Court has not decided whether the Defendant or the Plaintiff is correct. By establishing the
Collective Action and authorizing this Notice, the Court is not suggesting that the Plaintiff will
win or lose the case.

   5. What is the Plaintiff asking for?

In response to Defendant's failure to pay Oil Spill Workers overtime compensation for all hours
worked over forty in a workweek, Plaintiff is seeking to recover unpaid overtime wages,

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liquidated damages equal to the amount of overtime owed, attorneys' fees, and costs of the
lawsuit for himself and all other Oil Spill Workers who join the case.

   6. Can I join this lawsuit?

Yes. You are eligible to join this lawsuit if O’Brien’s hired you as an independent contractor to
work as an Oil Spill Worker during the past three years prior to the date you file a Notice of
Consent form to join this lawsuit and you were paid a day-rate and worked over forty hours in at
least one workweek.

   7. What happens if I join the lawsuit?

If you join this lawsuit, you will share in any proceeds from a settlement or judgment favorable
to the Collective Action Members to the extent that you are entitled to such proceeds and you
will be bound by any ruling, settlement or judgment, whether favorable or unfavorable. In the
event that the Plaintiff does not prevail in the lawsuit you will receive no recovery.

By joining, you authorize the named Plaintiff to be your representative in this matter and agree to
be bound by his decisions in this lawsuit. By joining this case you authorize the named Plaintiff
to make decisions and enter into agreements on your behalf concerning all aspects of litigating
and/or resolving the claims in this case, including approving or rejecting any settlement offer(s);
and agree to be bound by the terms of any and all agreements between the named Plaintiff and
Plaintiff's attorneys. By joining you agree for Plaintiff's attorneys to be your legal representative,
however, you may hire a lawyer of your own choosing at your own expense to bring a separate
case.

While this lawsuit is pending, you also agree to provide any documents or information you have
relating to your employment, or otherwise participate in written and/or oral discovery
proceedings, including testifying at a deposition and/or in a trial of this matter.

   8. Can I bring claims against Defendant for unpaid overtime even though I agreed to and/or
      signed a contract agreeing to work as an independent contractor?

Yes. You may join this lawsuit even if you agreed to work as an independent contractor for a
daily rate. If the Court determines that you were improperly denied overtime and that Defendant
misclassified you as an independent contractor, any such agreement will not be binding or valid.

   9. Can I participate in this lawsuit even though, due to my immigration status, I am not
      working for O’Brien’s legally?

Yes. Your immigration status does not affect your entitlement to recover unpaid wages.

   10. Can O’Brien’s and/or my current employer retaliate against me if I join the lawsuit?


                                          Questions
                        Contact Bruckner Burch PLLC at (800) 443-2441
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No. It is a violation of federal law for O’Brien’s to fire, discipline, punish, intimidate, threaten,
refuse to hire, blacklist, or in any manner discriminate or retaliate against you for joining this
case. If you believe that as a result of your receiving this Notice, considering whether to join this
lawsuit, or actually joining this lawsuit, you have experienced such illegal treatment, contact
Plaintiff's lawyers immediately.

   11. How do I ask the Court to include me in the case?

Enclosed is a form called "Notice of Consent." If you choose to join this lawsuit, it is extremely
important that you read, sign, and promptly return the Notice of Consent form so that it is
received by Plaintiff's Counsel by        . An addressed and postage-paid envelope is enclosed
for your convenience. Should the enclosed envelope be lost or misplaced, the Notice of Consent
form must be sent to:

                                     Bruckner Burch PLLC
        Att. Prejean v. O’Brien’s Response Management, Inc., 2:12-cv-01045-CJB-JCW
                                 8 Greenway Plaza, Suite 1500
                                      Houston, TX 77005

You can also fax the Notice of Consent form to (713) 877-8065 or scan and email it to
frontdesk@brucknerburch.com.

If you want to participate, send your signed Notice of Consent form in time for Plaintiff's
Counsel to receive it by [60 days from the date of Notice]. If the signed Notice of Consent form
is not filed by the deadline, you will not be allowed to participate in this lawsuit and you will not
be entitled to participate in, and will not be bound by, any settlement or judgment of the FLSA
claim.

   12. Do I have a lawyer in this case?

Yes. If you join this lawsuit you will be represented by the Plaintiff's lawyers:

Richard (Rex) J. Burch
David I. Moulton
Bruckner Burch PLLC
8Greenway Plaza, Suite 1500
Houston, TX 77046
(800) 443-2441

Derrick Earles
Brian Caubarreaux & Associates
144 West Tunica Dr.
Marksville, LA 71351
318-253-0900

                                          Questions
                        Contact Bruckner Burch PLLC at (800) 443-2441
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   13. Should I hire my own lawyer?

You do not need to hire your own lawyer because Plaintiff's Counsel will be working on your
behalf. You are allowed to hire your own lawyer at your own expense if you so choose.

   14. How will the lawyers be paid?

Whether Plaintiff wins or loses this case, you will not be required to pay any attorneys' fees or
costs out of your own pocket. The named Plaintiff has entered into contingency fee agreements
with Plaintiff’s counsel which will be binding upon you if you join. These agreements provide
that in the event there is a recovery, the attorneys are entitled to a part of any settlement obtained
or money judgment entered in favor of all members of the class, as approved by the Court.
Further, the FLSA requires employers pay prevailing employees' reasonable attorneys' fees for
claims under the FLSA. If no recovery is obtained, there will be no attorneys' fees. A copy of
the contingency fee agreement executed by the named Plaintiff may be obtained upon request
from Plaintiff's counsel identified above.

   15. What happens if I do nothing at all?

If you choose not to join this lawsuit, you will not be affected by any ruling, judgment or
settlement rendered in this case, whether favorable or unfavorable. You will not receive any
money recovered by Plaintiff as part of this lawsuit. You will remain free to independently
retain your own counsel and file your own individual lawsuit. You should be aware that your
federal wage and hour claims are limited by either a two or three-year statute of limitations.
Delay in joining this action or delay in proceeding separately may result in some or all of your
potential claims expiring as a matter of law.

   16. I still have questions.

If you have questions or are unsure whether you are included, you can call or write, without
obligation or fee, to any of the Plaintiff's lawyers in this case.




                                           Questions
                         Contact Bruckner Burch PLLC at (800) 443-2441
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IN RE:         FLSA CLAIMS AGAINST: ]                      COLLECTIVE ACTION
                                    ]
O’BRIEN’S RESPONSE MANAGEMENT, INC. ]
                                    ]                      NOTICE OF CONSENT
                                    ]

I consent and agree to join this case to recover overtime pay against O’Brien’s and any of its
officers, agents, parent companies, subsidiaries, co-employers and representatives. I also agree
to be bound by the any adjudication by the Court, whether it be favorable or unfavorable. I also
agree to be bound by any collective action settlement in this case approved by my attorneys and
this Court as fair, adequate, and reasonable. I also designate the law firms of Bruckner Burch
PLLC, Brian Caubarreaux & Associates, and Michael D. Lore, P.C. to represent me in this
action.

                      _______________________________________________
                      Signature

                      ______________________________________________
                      Full Legal Name (print)

                      _______________________________________________
                      Date

                      _______________________________________________
                      Street Address

                      _______________________________________________
                      City, State, Zip Code

                      _______________________________________________
                      Telephone Number

                      _______________________________________________
                      Cell Phone Number

                      _______________________________________________
                      Emergency Contact (Name & Phone Number)

                      _______________________________________________
                      E-Mail Address

Send your completed form via regular mail, fax, or email to:
      Bruckner Burch PLLC                       Fax: (713) 877-8065
      c/o O’Brien’s Overtime Case               Email: frontdesk@brucknerburch.com
      8 Greenway Plaza, Suite 1500
      Houston, TX 77046
